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                         UNITED STATES DISTRICT COURT
1
                                   FOR THE
2                      WESTERN DISTRICT OF PENNSYLVANIA
3

4    DAVID HILL,                                 )
                                                 )
5                  Plaintiff                     )       Case No.: 3:21-cv-49
6
                                                 )
           v.                                    )       COMPLAINT AND DEMAND FOR
7                                                )       JURY TRIAL
     PENN CREDIT CORPORATION,                    )
8
                                                 )       (Unlawful Debt Collection Practices)
9                  Defendant                     )
                                                 )
10

11
                                          COMPLAINT
12

13
           GREGORY HOLT (“Plaintiff”), by and through his attorneys, KIMMEL &

14   SILVERMAN,         P.C.,   alleges    the       following      against   PENN    CREDIT
15
     CORPORATION (“Defendant”):
16
                                     INTRODUCTION
17

18         1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices

19   Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).
20
                                JURISDICTION AND VENUE
21
           2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
22

23   which states that such actions may be brought and heard before “any appropriate
24   United States district court without regard to the amount in controversy,” and 28
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                                                     1

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     U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
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2    under the laws of the United States.
3
           3.      Defendant conducts business in the Commonwealth of Pennsylvania
4
     and as such, personal jurisdiction is established.
5

6
           4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) and (2).

7                                           PARTIES
8
           5.      Plaintiff is a natural person residing in Johnstown, Pennsylvania
9
     15905.
10

11         6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

12   §1692a(3).
13
           7.      Defendant is a corporation specializing in debt collection with its
14
     principal place of business located at 916 South 14 th Street, Harrisburg,
15

16   Pennsylvania 17104.
17         8.      Defendant is a “debt collector” as that term is defined by U.S.C. §
18
     1692a(6), and repeatedly contacted Plaintiff in an attempt to collect a debt.
19
           9.      Defendant acted through its agents, employees, officers, members,
20

21   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
22
     representatives, and insurers.
23
                                FACTUAL ALLEGATIONS
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25
           10.     Upon information and belief, Defendant was hired to collect a


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     consumer debt that was primarily for personal, family, or household purposes.
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2          11.    Defendant collects, and attempts to collect, debts incurred, or alleged
3
     to have been incurred, for personal, family, or household purposes on behalf of
4
     creditors using the U.S. Mail, telephone and/or internet.
5

6
           12.    Defendant placed repeated calls to Plaintiff’s cellular telephone

7    attempting to collect a debt owed by a third party.
8
           13.    Defendant did not have consent to call Plaintiff’s telephone number.
9
           14.    Plaintiff told Defendant to stop calling soon after the calls began.
10

11         15.    However, Defendant ignored this request and continued to call

12   Plaintiff’s telephone number.
13
           16.    Once Defendant was aware it was calling the wrong number the only
14
     purpose in placing continued calls to Plaintiff’s cellular telephone number would
15

16   be to harass him.
17

18
                                COUNT I
19                DEFENDANT VIOLATED § 1692d OF THE FDCPA
20
            17. A debt collector violates § 1692d by engaging in any conduct the
21
     natural consequence of which is to harass, oppress, or abuse any person in
22

23   connection with the collection of a debt.

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             18.   Defendant violated § 1692d when it placed repeated and continuous
1

2    harassing telephone calls to Plaintiff for a third party and when it continued calling
3
     Plaintiff’s cellular telephone after he explicitly told Defendant to stop.
4

5

6
                                  COUNT II
                   DEFENDANT VIOLATED § 1692d(5) OF THE FDCPA
7
             19.   A debt collector violates § 1692d(5) by causing a telephone to ring or
8

9    engaging any person in telephone conversation repeatedly or continuously with
10
     intent to annoy, abuse, or harass any person at the called number.
11
             20.   Defendant violated § 1692d(5) when it placed repeated and
12

13
     continuous harassing telephone calls to Plaintiff for a third party and when it

14   continued calling Plaintiff’s cellular telephone after he explicitly told Defendant to
15
     stop.
16

17

18                                COUNT III
                    DEFENDANT VIOLATED § 1692f OF THE FDCPA
19
             21.   A debt collector violates § 1692f by using unfair or unconscionable
20

21   means to collect or attempt to collect any debt.
22
             22.   Defendant violated § 1692f when it continued to call Plaintiff after he
23
     told them to stop, and generally, when it used unfair and unconscionable means to
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25
     collect the alleged debt.


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2           WHEREFORE, Plaintiff, DAVID HILL, respectfully prays for a judgment
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     as follows:
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                   a.      All   actual    damages   suffered   pursuant    to   15   U.S.C.
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6
                           §1692k(a)(1);

7                  b.      Statutory damages of $1,000.00 for the violation of the FDCPA
8
                           pursuant to 15 U.S.C. §1692k(a)(2)(A);
9
                   c.      All reasonable attorneys’ fees, witness fees, court costs and
10

11                         other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.

12                         §1693k(a)(3); and
13
                   d.      Any other relief deemed appropriate by this Honorable Court.
14

15

16                               DEMAND FOR JURY TRIAL
17          PLEASE TAKE NOTICE that Plaintiff, GREGORY HOLT, demands a jury
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     trial in this case.
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                                        RESPECTFULLY SUBMITTED,
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2

3    Date: March 24, 2021              By:_/s/ Amy L. B. Ginsburg
                                          AMY L. B. GINSBURG
4
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                                PLAINTIFF’S COMPLAINT
